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Attomeys for the United States of America
IN THE UNITED STATES DISTRICT COURT

FOR THE TERRITORY OF GUAM

UNITED STATES OF AMERICA, CRIMINAL CASE NO. 17-00035
Plaintiff,
UNITED STATES’ MOTION TO
VS- FILE JUSTIFICATION UNDER SEAL
AUSTIN JAY SAN NICOLAS,
Defendant.

 

 

 

 

COMES NOW the United States of America, by and through the undersigned counsel,
and hereby moves this Honorable Cou!t for an Order allowing it to file under seal, the
Govemment’s Justiflcation for Continuing Status Hearing. The government makes this request
for the reasons set forth in the justification

RESPECTFULLY SUBMITTED this E day of October, 2017.

SHAWN N. ANDERSON

Acting United States Attorney
Districts of Guam and NMI

Byr 1191th J§cw'\ }i»v»-'w

§PE§HEN F. L`EON GUERRERO
Assistant U.S. Attorney

U.S. Motion to Seal Justif`lcation

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